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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES,                       )
                                     )        No. 15-cr-10153-WGY
v.                                   )
                                     )
NICHOLAS ROVINSKI,                   )
      Defendant.                     )
____________________________________)

                       MOTION FOR COMPASSIONATE RELEASE
                           UNDER 18 U.S.C. § 3582(c)(1)(A)

       Nicholas Ronvisnki respectfully moves this Court for an order reducing his sentence to

“time served” based on “extraordinary and compelling reasons” related to the COVID-19

pandemic, as set forth below, pursuant to 18 U.S.C. §3582(c)(1)(A)(i). Mr. Rovinski requests

that the Court schedule a hearing on this motion at its earliest convenience.

       Mr. Rovinski, now 29 years old, is incarcerated at FCI Danbury, where one of the first

major COVID-19 outbreaks in the federal Bureau of Prisons is ongoing. The conditions at

Danbury are so dire that a federal court in the District of Connecticut recently found that they

likely violate the Eighth Amendment. See Martinez-Brooks v. Easter, No. 3:20-cv-00569-MPS,

2020 U.S. Dist. LEXIS 83300 at *3-*4 (D. Conn. May 12, 2020) (granting in part motion for

temporary restraining order and preliminary injunction). Moreover, Mr. Rovinski is medically

vulnerable, as an individual with cerebral palsy, cognitive limitations, hypertension, and

depression.

       Mr. Rovinski has approximately 94 months remaining to serve on a 180-month sentence

for so-called “terrorism” offenses. But as this is Court is aware from Mr. Rovinski’s testimony at

the trial of his co-defendant, and from sentencing submissions concerning Mr. Rovinski’s actual



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conduct and characteristics, the “terrorist” label, with all that it connotes, is inapt.1 He was

uniquely vulnerable young man who for a time, with his thoughts and words, adopted a violent

extremist ideology, expressed readiness to sign on to plans of co-conspirators, and suggested

fantastical schemes of his own. But he never came close to causing or participating in any actual

violence and, as the medical and psychiatric information demonstrated, he was uniquely ill-

equipped ever to do so. He came to his senses and went on to do everything he could to make

things right, earning the respect and empathy of the FBI case agents in the process.

       It is unspeakably tragic that the disabilities that first rendered Mr. Rovinski vulnerable to

the odious siren song of his co-conspirators now also expose him to severe illness and death

while he serves the extremely harsh sentence that the law required this Court to impose. In these

unique and extraordinary circumstances, this Court should exercise its power and discretion to

reduce Mr. Rovinski’s sentence to a term of “time served” and order his immediate release to

begin his lifetime term of supervised release in self-quarantine at his mother’s home in Warwick,

Rhode Island. To the extent the Court deems necessary, it could order some portion of

supervised release to be served in home confinement.

                                          BACKGROUND

       Pursuant to a Fed. R. Crim. P. 11(c)(1)(C) plea agreement, Mr. Rovinski pled guilty to

conspiracy to provide material support to a designated foreign terrorist organization, in violation

of 18 U.S.C. § 2339B(a)(1), and conspiracy to commit acts of terrorism transcending national

boundaries, in violation of 18 U.S.C. § 2332b(a)(2). On December 20, 2017, the Court sentenced



1
 More detailed information is available Mr. Rovisnki’s Sentencing Memorandum [D.E. 408]
and in the sealed psychiatric evaluation by Dr. Julia Reade submitted to the Court at that time to
assist with sentencing (hereinafter “Psych. Eval.”). Undersigned counsel will provide a courtesy
copy of the evaluation to the Clerk for the Court’s convenience at the time of filing this motion.
Mr. Rovinksi is also separately filing his BOP medical records under seal as Exhibit 1.
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Mr. Rovinski to a mandatory minimum sentence of fifteen years (180 months) of imprisonment

and a lifetime of supervised release. Mr. Rovinski has approximately 94 months left to serve on

the custodial portion of the sentence.2

         On April 24, 2020, undersigned counsel sent a letter by both e-mail and U.S. mail

requesting that Mr. Rovinski be considered for transfer to home confinement pursuant to the

CARES Act and Attorney General Barr’s Memoranda, or alternatively, considered for BOP-

initiated compassionate release. See Exhibit 2.

         To date, neither he nor counsel have received any response from the warden.

                                          ARGUMENT

    I.      Mr. Rovinski has satisfied the exhaustion requirement.

         After passage of the First Step Act, the Court may consider a defendant’s motion for

reduction of sentence once s/he has exhausted administrative remedies or upon “the lapse of 30

days from the receipt of such a request by the warden of the defendant’s facility, whichever is

earlier[.]” 18 U.S.C. § 3582(c)(1)(A).

         Mr. Rovinski has satisfied this requirement because 30 days have lapsed since he

submitted his request. See United States v. Joling, No. 6:11-cr-60131-AA, 2020 U.S. Dist.

LEXIS 67953 at *5 (D. Or. Apr. 17, 2020) (finding exhaustion shown based on lapse of 30

days); United States v. Amarrah, No. 17-20464, 2020 U.S. Dist. LEXIS 80396, at *11 (E.D.

Mich. May 7, 2020) (same); United States v. Ardila, No. 03-cr-264-SRU, 2020 U.S. Dist. LEXIS

77010, at *2-3 (D. Conn. May 1, 2020) (same); United States v. Washington, 07-cr-00258-CMR,

D.E. 529, at 2-3 (E.D. Pa. May 14, 2020) (same); United States v. Robinson, No. 18-cr-00597-



2
 The BOP on-line “inmate locator” indicates that Mr. Rovinski’s projected sentence completion
date is April 18, 2028. See https://www.bop.gov/inmateloc/.

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RS-1, 2020 U.S. Dist. LEXIS 73575, at *5 (N.D. Cal. Apr. 27, 2020); United States v. Norris,

17-cr-00106-SRU, 2020 U.S. Dist. LEXIS 70219, at *3 (D. Conn. Apr. 16, 2020).

       Moreover, as this Court found in United States v. Ramirez, “it has the discretion to waive

the [30-day] requirement.” United States v. Ramirez, No. 17-10328-WGY, 2020 U.S. Dist.

LEXIS 83363, at *18-22 (D. Mass. May 12, 2020) (collecting cases waiving exhaustion

requirement, including for defendants with significant amounts of time left on their sentences);

see also United States v. Guzman-Soto, No. 1:18-cr-10086-IT, 2020 U.S. Dist. LEXIS 67912, at

*13 (D. Mass. Apr. 17, 2020) (waiving exhaustion requirement); United States v. White, 00-

30027-MGM-4, D.E. 538 & 539 at 2 (D. Mass. April 10, 2020 ) (same); United States v. Diaz,

No. 1:16-cr-10215-RWZ, D.E. 288 (D. Mass. April 23, 2020); United States v. Coles, No. 00-cr-

20051, 2020 U.S. Dist. LEXIS 72327 at *12 (C.D. Ill. Apr. 24, 2020); United States v.

McCarthy, No. 3:17-CR-0230-JCH, 2020 U.S. Dist. LEXIS 61759 at *8 (D. Conn. Apr. 8,

2020); United States v. Perez, No. 17-cr-513-3-AT, 2020 U.S. Dist. LEXIS 57265 at *4, *5-9

(S.D.N.Y. Apr. 1, 2020); United States v. Colvin, No. 19-cr-179-JBA, 2020 U.S. Dist. LEXIS

57962 at *3-6 (D. Conn. Apr. 2, 2020); but see United States v. Raia, 954 F.3d 594 (3d Cir.

2020) (finding that the failure to exhaust or wait 30 days “presents a glaring roadblock

foreclosing compassionate release at this point”), pet. for reh’g filed Apr. 14, 2020.3

       Requiring any further exhaustion here would also be futile. See Perez, 2020 U.S. Dist.

LEXIS 57265 at *5-*8 (excusing exhaustion requirement on this basis); United States v. Bess,

No. 16-cr-156, 2020 U.S. Dist. LEXIS 71056, at *10-*11 (W.D.N.Y. Apr. 22, 2020) (same). The




3
 Numerous organizations have filed amicus briefs in support of rehearing in Raia, including a
brief by former federal judges. See Brief of Amici Curiae Former Members of the Judiciary,
United States v. Raia, Third Circuit No. 20-1033, D.E. 31 at 7-8 (Apr. 14, 2020).

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BOP has adopted a blanket policy of excluding individuals with “terrorism” convictions from

consideration for home confinement, without any individualized consideration. See Hurwitz,

Memorandum for Chief Executive Officers (Apr. 22, 2020) (“April 22 guidance”).4 And its

policy regarding compassionate release does not permit consideration of the risks posed by

COVID-19 when evaluating compassionate release requests. See Program Statement 5050.50

(pre-dating the COVID-19 pandemic); United States v. Pena, No. 16-cr-10236-MLW, 5/13/20

Tr. at 31 (testimony from Warden at FMC Devens that under BOP policy, he “didn’t consider . .

. whether the COVID-19 pandemic constituted extraordinary and compelling circumstances that

would justify release,” attached as Exhibit 3); Martinez-Brooks v. Easter, 20-cv-00569-MPS,

D.E. 30 at 55 (D. Ct. May 12, 2020) (“during the COVID-19 crisis at FCI Danbury, [it is]

impossible to find any success within the existing administrative remedy process; the applicable

standards appear to make no allowance for the grave risks posed by COVID-19”).

      II.      The Court should grant compassionate release to Mr. Rovinski because of his
               unique vulnerabilities to COVID-19 and the outbreak occurring at FCI
               Danbury.

            A. Legal Standard

            As amended by the First Step Act (“FSA”), section 3582(c)(1)(A) gives the Court the

authority to grant a reduction in sentence (compassionate release) if, “after consideration the

factors set forth in section 3553(a)[,] … it finds that extraordinary and compelling reasons

warrant such a reduction[.]” 18 U.S.C. § 3582(c)(1)(A)(i).

            Congress directed the Sentencing Commission to define the term “extraordinary and

compelling reasons.” 18 U.S.C. § 994(t). The Commission did so prior to the passage of the First

Step Act but has not since updated its policy statement. See U.S.S.G. §1B1.13 cmt. n.1(A)-(D).



4
    Available at https://famm.org/wp-content/uploads/bop-memo-4.23.2020.pdf.
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In subsections (A)-(C) of an Application Note to U.S.S.G. §1B1.13, the Commission enumerated

three specific “reasons” that qualify as “extraordinary and compelling”: (A) terminal illness or

serious medical condition which “substantially diminish[es]” the defendant’s capacity for self-

care in prison; (B) aging-related health decline in elderly inmates who have served ten years or

75% of their sentences; or (C) two family-related circumstances. See id. cmt. n.1(A)-(C). The

policy statement also contained a catch-all provision that gave the Director of the BOP the

authority to determine if “there exists in the defendant’s case an extraordinary and compelling

reason other than, or in combination with” the other three categories. Id. cmt. n.1(D).

       This Court has joined the vast majority of courts in finding that it has discretion to utilize

the “catch-all provision,” “consider unlisted factors in deciding whether extraordinary and

compelling circumstances exist,” and ultimately make its own determination of when

extraordinary and compelling reasons exist. Ramirez, 2020 U.S. Dist. LEXIS 83363 at *5-6;

United States v. Bucci, 409 F. Supp. 3d 1, 2 (D. Mass. 2019); accord Beck, 425 F. Supp. 3d at

579; Brown, 411 F. Supp. 3d at 451; United States v. Fox, No. 2:14-CR-03-DBH, 2019 U.S.

Dist. LEXIS 115388 at *7 (D. Me. July 11, 2019); United States v. Redd, No. 1:97-cr-00006-

AJT, 2020 U.S. Dist. LEXIS 45977, at *18 (E.D. Va. Mar. 16, 2020); United States v. Rodriguez,

E.D. Pa. No. 03-cr-271-AB, D.E. 135 at 6-12 (Apr. 1, 2020) ; United States v. Cantu, No. 1:05-

CR-458-1, 2019 U.S. Dist. LEXIS 100923, 2019 WL 2498923, at *4 (S.D. Tex. June 17, 2019).

       This Court has also found that it is “free to consider … factors such as the risk of inmates

developing a serious condition” and that compassionate release “may be available for those at a

particularly high risk from the coronavirus, provided their release is otherwise appropriate under

the section 3553 factors.” Ramirez, 2020 U.S. Dist. LEXIS 83363 at *12 (emphasis in original).

The Court has further recognized that “many patients with a severe case of [COVID-19] will be



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debilitated to the point that they are incapable of self-care,” commensurate with the BOP’s

recognition of a compassionate release category for inmates with serious and debilitating medical

conditions. Id. at 11; see BOP Program Statement 5050.50. This is a particularly apt observation

in Mr. Rovinski’s case, where not only is he medically vulnerable but he also will have a more

difficult time providing self-care than most people, given his cerebral palsy, cognitive

limitations, and depression, as discussed below.

         B. In light of Mr. Rovinski’s unique vulnerabilities, COVID-19 and conditions at
            FCI Danbury are extraordinary and compelling reasons for compassionate
            release.

         “[N]othing could be more extraordinary and compelling than this pandemic.” United

States v. Rodriguez, No. 03-cr-271-AB, D.E. 135 at 2 (E.D. Pa. Apr. 1, 2020). This Court is well-

versed in both the risks of COVID-19, the risks posed in a congregate environment like a prison,

and the risks posed to individuals with medical conditions. See Savino v. Souza, No. 20-10617-

WGY, 2020 U.S. Dist. LEXIS 61775 at *5-6 (D. Mass. Apr. 8, 2020); Ramirez, 2020 U.S. Dist.

LEXIS 83363 at *2, *11-12 & nn.3-6. Mr. Rovinski incorporates by reference this Court’s prior

findings and focuses on the situation at FCI Danbury and his specific vulnerabilities.

                1. FCI Danbury is in the midst of a COVID-19 outbreak.

         As of June 6, 2020, the BOP has reported 2,183 confirmed “open” infections among

inmates and staff across 60 facilities and 28 reentry centers, with 78 inmate deaths and one staff

member death.5 FCI Danbury reports nineteen open prisoner cases, two open staff cases, one

death, as well as 79 and 59 inmates and staff, respectively, who have “recovered.”6 As noted



5
 BOP does not count inmates and staff who have “recovered” or died from COVID-19 in the
“open” case totals.
6
    See https://www.bop.gov/coronavirus/.

                                                   7
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below, however, a lack of testing renders that count inherently suspect.

          On April 27, 2020, civil rights lawyers and several law school clinics filed a lawsuit in

the District of Connecticut demanding that FCI Danbury meaningfully address the needs of

medically vulnerable prisoners at FCI Danbury. See Memorandum in Support of Class Action

Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2241, Martinez-Brooks v. Easter, 20-cv-

00569-MPS, D.E. 15 (D. Ct. April 30, 2020). Facts regarding the recent conditions at FCI

Danbury are taken from that complaint and its supporting materials, as well as the court’s May

12, 2020 order granting a temporary restraining order [D.E. 30].

          “In the men’s prison, there are seven units of open, dorm-style housing, two smaller

rooms that can house ten to twelve inmates each, and three units of individual cells. Thus, the

majority of the inmates at the men’s prison live in large, open dormitories, with shared common

spaces and bathrooms.” Martinez-Brooks, 20-cv-00569-MPS (D.Ct. May 12, 2020), D.E. 30 at 8.

As of June 4, 2020, Mr. Rovinski reports that he lives in a dormitory with approximately 56

other prisoners.

          In late March, a male prisoner tested positive for COVID-19. Martinez-Brooks, D. Ct. 20-

cv-00569, D.E. 15 at 3. By April 15, BOP was reporting 44 prisoners and 39 staff members were

infected. Id. As of June 6, 2020, ninety-nine inmates at FCI Danbury have tested positive since

the start of the pandemic, out of an inmate population of approximately 1,000.7 One has died. Id.

It is unclear how many tests have been conducted at FCI Danbury or how many prisoners who

are exhibiting symptoms have not yet been tested. See D.E. 15 at 3-4.8 This led the court to



7
    Id.
8
 Indeed, where widespread testing has been conducted, prison infection rates have been
astronomical. At FCI Terminal Island, for instance six hundred inmate infections have been
confirmed and four inmates have died. See https://www.bop.gov/coronavirus/ (accessed May 1,
                                                   8
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conclude that these numbers “may well understate the true number of COVID-19 cases at FCI

Danbury, in light of the limited testing that has been conducted.” Martinez-Brooks, 2020 U.S.

Dist. LEXIS 83300 at *11.

       Prisoners have reported a medical response that is not only patently inadequate but

actively dangerous. Prisoners with fever are sometimes taken to a medical unit – where other

symptomatic individuals are – and are returned to their units and given Tylenol or cough syrup to

see if their fever goes away. See id. D.E. 15 at 10-12 (citing Cassidy Decl., D.E. 1-4, ¶¶ 12-14;

Harper Decl., D.E. 1-14, ¶¶ 5-6). One such prisoner who was returned to the unit was then

“vomiting blood all week.” D.E. 1-4 ¶ 14. “[I]nmates who complain to staff of symptoms

consistent with COVID-19—including coughing, congestion, and shortness of breath—are

routinely unable to obtain immediate medical examination, are not tested for COVID-19, and are

returned to the general population until their symptoms worsen.” Martinez-Brooks, 2020 U.S.

Dist. LEXIS 83300 at *16. Individuals with fever as high as 103 degrees are left languishing in

the units. D.E. 1-11 ¶ 13. Many prisoners who have COVID-19 symptoms other than fever,

including coughs and difficulty breathing, have not been able to see a medical professional at all.

Id.¶ 14. One prisoner reported that “‘[a]pproximately 80% of prisoners in [his] unit show flu-like

symptoms, including fever, coughing, body aches, shortness of breath, chest pressure, and

headaches.‘” Martinez-Brooks, 2020 U.S. Dist. LEXIS 83300 at *17. Officials manipulate

temperature checks to avoid finding symptomatic prisoners. Id. at *19. For instance, one female




2020). When the state of Ohio conducted mass testing inside its prisons, the numbers were
staggering: 73 percent of the prisoners at one facility were infected. See 73% of Inmates At An
Ohio Prison Test Positive for Coronavirus, NPR, April 20, 2020, available at
https://www.npr.org/sections/coronavirus-live-updates/2020/04/20/838943211/73-of-inmates-at-
an-ohio-prison-test-positive-for-coronavirus (Ohio is “‘pulling off mass testing of their entire
[prison] population inclusive of staff which … no other state is doing’”).
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inmate who was hospitalized with a 102-degree fever, due to COVID-19, had been told by

Danbury staff just one hour earlier that her temperature was 97 degrees. Id. (emphasis added).

        “It is undisputed that there is an active and serious outbreak of COVID-19 at FCI

Danbury.” Id. at *63. In fact, FCI Danbury was one of only three federal prisons specifically

identified by Attorney General William Barr in an April 3, 2020 memo to the Director of the

Bureau Prisons ordering immediate action to place vulnerable inmates on home confinement.9 In

the memo, Attorney General Barr noted the “significant levels of infection” at FCI Danbury,

along with FCI Oakdale and FCI Elkton, and directed the Bureau was to move “as quickly as

possible.” Id.

        In short, even absent sufficient testing to provide reliable numbers, the situation at

Danbury is a “ticking time bomb.” United States v. Park, No. 16-cr-473-RA (S.D.N.Y. Apr. 24,

2020) at 5 (granting compassionate release to Danbury inmate) (citing Letters to the Editor: A

prison doctor’s stark warning on coronavirus, jails and prisons, L.A. Times (Mar. 20, 2020)10).

                 2. Mr. Rovinski is particularly vulnerable to a severe COVID-19 infection.

        Mr. Rovinski has medical, neurological, cognitive, and psychological conditions that

place him at unique risk. These conditions make him medically vulnerable and diminish his

ability to provide self-care.

        Mr. Rovinski was born with cerebral palsy, a neurological disorder cause by a brain

injury or malformation that occurs when the child’s brain is under development (typically pre-



9
 Office of the Attorney General, Memorandum for Director of Bureau of Prisons: Increasing
Use of Home Confinement at Institutions Most Affected by COVID-19 (Apr. 3, 2020), available
at https://www.justice.gov/file/1266661/download
10
 Available at https://www.latimes.com/california/story/2020-03-20/prison-doctors-stark-
warning-on-coronavirus-and-incarce   ration

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natal or shortly after birth). He received extensive services and treatment in childhood from the

Shriners Hospitals’ cerebral palsy program. While his visible symptoms now appear “mild” to a

lay observer, his limitations, detailed in the psychiatric evaluation, are much more profound. The

CDC identifies neurological disorders, specifically including cerebral palsy, among

“[u]nderlying medical conditions that may increase the risk of serious COVID-19 for individuals

of any age.”11

          Mr. Rovinski also has hypertension, for which he is prescribed carvedilol and aspirin. See

Med Records, Ex. 1, at pdf. pp. 91, 120, & 147. He also takes hydrochlorothiazide. Id.

Hypertension is identified by the CDC as a risk factor for severe illness and adverse outcomes.12

See United States v. Salvagno, No. 5:02-CR-51-LEK, 2020 U.S. Dist. LEXIS 95844 at *12-14

(N.D.N.Y. Apr. 23, 2020) (granting compassionate release to FCI Danbury inmate with

hypertension and no other health factor and collecting resources regarding the COVID-19 risks

associated with hypertension); United States v. Sawicz, No. 08-cr-287-ARR, 2020 U.S. Dist.

LEXIS 64418 at *5-6 (E.D.N.Y. Apr. 10, 2020) (granting release to FCI Danbury inmate whose

only risk factor was hypertension); United States v. Hilow, No. 15-cr-170-JD, D.E. 83 at 10

(D.N.H. June 2, 2020) (“even controlled hypertension in conjunction with COVID-19 is a health

risk”).

          Salvagno, Sawicz, and Hilow each relied, in part, on the dismal situation at FCI Danbury.

In Sawicz, Judge Ross of the Eastern District of New York granted compassionate release based



11
  See CDC, “Implementation of Mitigation Strategies for Communities with Local COVID-19
Transmission” at 10, available at https://www.cdc.gov/coronavirus/2019-
ncov/downloads/community-mitigation-strategy.pdf.
12
   https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-management-patients.html
(reporting a 6% mortality rate for people with hypertension, based on a study of patients in
China).
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on “[t]he COVID-19 outbreak at FCI Danbury, combined with the fact that the defendant is at

risk of suffering severe complications … because of his hypertension.” 2020 U.S. Dist. LEXIS

64418 at *6; see also Salvagno, 2020 U.S. Dist. LEXIS 95844 at *14, *16 (granting

compassionate release to Danbury prisoner with hypertension and a 2026 release date, in light of

“the significant outbreak at FCI Danbury,” which “creates a high likelihood that Defendant will

be exposed to COVID-19, … even compared to other federal prisons,” and collecting cases

where courts have released people with “significant amount of time remaining on [their]

sentence[s]”); United States v. Hilow, No. 15-cr-170-JD, D.E. 83 at 1-2 (D.N.H. June 2, 2020)

(granting compassionate release to prisoner at FCI Danbury with hypertension, “mild” asthma,

migraines, acid reflux disease, and mental health issues who had served 62 months of a 120-

month mandatory minimum sentence); United States v. Park, No. 16-cr-473-RA at 7-8

(S.D.N.Y. Apr. 24, 2020) (granting release based on “the combination of Ms. Park’s preexisting

medical issues … and the worsening outbreak at FCI Danbury”). The court in Salvagno noted

that, at the time of sentencing, it “did not intend for the sentence to include incurring a great and

unforeseen risk of severe illness or death.” 2020 U.S. Dist. LEXIS 95844 at *19 (internal

quotation marks and citation omitted).

       Finally, Mr. Rovinski struggles with neuromuscular, cognitive, and mental health

disabilities, some of which are related to his cerebral palsy and some of which may have separate

etiology. See Psych Eval. Mr. Rovinski has been diagnosed with major depressive disorder, for

which he takes fluoxetine. See Med. Records, Ex. 1, at pdf. p.86. Mr. Rovinski has also been

diagnosed with anxiety. See id. at 95, 101-02, 106, 115.13 These conditions result in Mr.



13
  Additionally, he was diagnosed in childhood with attention deficit disorder. See D.E. 408-2 at
13; Psych. Eval. at 8, 18.

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Rovinski’s diminished capacity to provide self-care. See Ramirez, 2020 U.S. Dist. LEXIS 83363

at *11 (discussing COVID-19 as a medical condition that is “debilitat[ing] to the point that

[prisoners] are incapable of self-care”). In line with this Court’s observation in Ramirez, several

courts have relied on similar non-medical conditions that diminish a prisoner’s capacity for self-

care in granting compassionate release due to COVID-19. For instance, in United States v. Field,

the court granted compassionate release to a Danbury inmate with hypertension and

“nonphysical health conditions that present challenges for self-care.” No. 18-cr-426-JPO, D.E.

38 at 3 (S.D.N.Y. May 4, 2020). The defendant there had a speech impediment. See id. D.E. 30

at 7.14 The court held “that the COVID-19 pandemic, coupled with Defendant’s physical and

medical condition and the conditions at [Danbury], provide ‘extraordinary and compelling

reasons’ for reducing his sentence.” Id.; see also Perez, S.D.N.Y. 17-cr-513-3, 2020 U.S. Dist.

LEXIS 57265 at *11 (granting compassionate release to prisoner who was in “weakened health”

due to facial injuries, see id. at *2, although he had no COVID-specific vulnerabilities).

       Mr. Rovinski has difficulty sustaining attention and managing complex tasks. See Psych.

Eval. at 5 (weak working memory and slow processing speed); id. at 8 (ADHD); id. at 12

(complex task management); id. at 22 (difficulty with complexity, independent operation, and

organization). These weaknesses make him less likely to effectively provide self-care. For

instance, when Mr. Rovinski uses the phone or computer at the prison, he has difficulty

processing that he might have been exposed to germs on the keyboard or phone, remembering




14
   The defendant in Field did not rely on any other medical conditions in seeking compassionate
release. See id. D.E. 30 at 7 (government opposition arguing that: “the defendant provides no
reason why the COVID-19 threat poses risks to him personally any more than the general prison
population, let alone any basis to find that it constitutes an ‘extraordinary and compelling reason’
for his release. The defendant concedes that he is in good health and does not possess any
particular attributes that make him uniquely vulnerable to the threat of COVID-19”).
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that he should not touch his face, and remembering to wash his hands as soon as he has access to

do so. Mr. Rovinski’s mother reports that he has difficulty maintaining his hygiene, particularly

when experiencing a mental health exacerbation. This is corroborated by the BOP medical

records. See Ex. 1 at 95 (Mr. Rovinski reported “periods in his life such as this one during which

his depression seems to intensify and during such times his emotional dysphoria worsens and he

becomes less functional”).

         In another example, correct hand-washing during the pandemic requires patience,

attention to detail, and a strong motivation to take care of oneself. These skills are challenging

for Mr. Rovinski. Further, Dr. Reade observed that Mr. Rovinski had some difficulty with fine

motor movements. See Psych. Eval. at 17 (he had “some trouble writing and drawing with a pen,

and there was marked tension, poor coordination, and mild spasticity in his movements”). These

fine motor movements are required in order to correctly don a mask – making sure it adheres to

the contours of the nose – and doff the mask without touching the exposed portion .15 These

minute tasks of thorough hand-washing and proper use of PPE require attention to detail, fine

motor coordination, and a strong motivation to care for oneself, all of which are challenging for

Mr. Rovinski. His capacity to provide self-care is diminished, both in warding off a COVID-19

infection and caring for himself if and when he contracts the virus.

         In sum: Mr. Rovinski “make[s] a particularized showing of both individual susceptibility

to the virus and a high risk of contracting it due to the conditions in [his] facility.” Ramirez, 2020

U.S. Dist. LEXIS 83363, at *12 (citation omitted).




15
     See https://www.cdc.gov/hai/pdfs/ppe/PPE-Sequence.pdf

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       C. The section 3553(a) factors favor release.

       Mr. Rovinski was convicted of very serious crimes. His thoughts and words satisfied the

elements of the criminal conspiracy charges to which he pled guilty, and the Court was required

to impose a harsh 15-year sentence. But the charge and sentence do not tell the whole story. As

Dr. Reade explained:

              Before he met his co-defendant, David Wright, Mr. Rovinski
              entertained only general ideas about theoretical violence directed at
              theoretical enemies. He had no clear target and took no steps that
              suggested he had any plan, intent, or capacity to harm anyone.
              Organized and focused by Mr. Wright, however, Mr. Rovinski
              readily agreed to a plan to kill [PG], and followed Mr. Wright’s
              lead to accomplish this plan. In my opinion, Mr. Rovinski would
              not have hatched this plan on his own, but needed the impulse and
              impetus provided by Mr. Wright.
              ....
              He is an extremely limited man who appears far more intact than
              he really is. In particular, he has trouble managing complexity,
              trouble operating independently, trouble with organization and
              strategy.
              ....
              Based on actuarial measures—including prior history of violence,
              arrest record, weapons training, weapons ownership, character
              pathology, age, gender, substance use history, mental illness, Mr.
              Rovinski’s risk of violence is increased slightly by his history of
              arrests, but is otherwise at the very low end of the spectrum.
              Looking at clinical variables—like presence of psychiatric
              symptoms, current use/abuse of substances, character
              traits/structure, I would rate Mr. Rovinski’s risk of violence at the
              low end of the spectrum. His cognitive limitations that interfere
              with his ability to plan, organize, and translate ideas into action all
              serve as protective factors. Mr. Rovinski is capable of constructing
              an angry phrase or idea, but he has little capacity to put those ideas
              into any kind of action.

Psych. Eval. at 22. The time Mr. Rovinski has already served provides sufficient punishment in

his unique circumstances and he poses no threat to the community going forward.

       Against this backdrop, continuing to imprison Mr. Rovinski puts both him and other

inmates at risk by contributing to crowded congregate conditions in which the virus spreads. In

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his April 3, 2020 Memorandum, Attorney General Barr recognized that “time is of the essence”

and directed and directed the BOP to “maximize” transfers to home confinement, citing

conditions at FCI Danbury specifically.16 Despite those instructions, the BOP categorically

refuses even to consider COVID-19 with regard to compassionate release requests, a stance that

Judge Wolf recently described as “illogical” in the Pena case. Ex. 3 at 128. In addition, the BOP

has tied its own hands with arbitrary criteria limiting home confinement eligibility. See April 22

Guidance;17 Ex. 3 at 127 (describing BOP refusal to consider merits of home confinement for

inmates who have not served 50 percent of their sentences as “utterly inconsistent” with the

Attorney General’s directives); Martinez-Brooks, 2020 U.S. Dist. LEXIS 83300 at *69-75

(discussing warden’s refusal to meaningfully utilize home confinement) & *75-82 (same with

regard to compassionate release).18 Like the situation before Judge Wolf in Pena, Mr. Rovisnki

will be disqualified from consideration for home confinement because he does not meet the “50-

25 rule.” Ex. 3 at 39. He will also be disqualified from consideration for home confinement




16
     See https://www.justice.gov/file/1266661/download
17
  https://famm.org/wp-content/uploads/bop-memo-4.23.2020.pdf . The document begins: “[i]n
an effort to protect the health and safety of staff and inmates during the COVID-19 pandemic, it
has become imperative to review at-risk inmates for placement on home confinement.” It then
proceeds to impose a laundry list of restrictions which would seem to thwart that stated goal.
18
   The court noted that, as of May 12, “of the nearly 1,000 inmates at FCI Danbury, only 159
inmates have been reviewed for home confinement, and only 21 of these have been released to
home confinement.” Martinez-Brooks, U.S. Dist. LEXIS 83300 at *35. “Since the beginning of
the COVID-19 crisis, … the Warden has not approved a single request for compassionate
release.” Id. at *40; see id. at *79-80 (contrasting prisoners’ “batting average” in the courts,
where District of Connecticut courts have granted more than half of compassionate release
requests); id. at *79 n.28 (noting similar situation at FCI Elkton). And two weeks after the
issuance of a temporary restraining order, the court noted that “not one inmate has actually been
released to home confinement pursuant to the Order.” Matinez-Brooks, D. Conn. 20-569, D.E. 70
at 1 (May 29, 2020).

                                                16
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because he was convicted of a terrorism-related offense, without regard for the particular

circumstances of the offense or his individual characteristics. See April 22 Guidance.

       Ironically, it is the BOP’s refusal to utilize the tempered and temporally limited tools it

has at its disposal – home confinement and medical furlough – that leaves courts to face the all-

or-nothing choice between leaving a prisoner inside a disease-ridden facility or releasing him

from his sentence through compassionate release. See Park, S.D.N.Y. 16-473, D.E. 73 at 9

(where “the mechanism for granting temporary release … lies solely in the BOP’s hands” and

the BOP declines to utilize that mechanism, compassionate release is appropriate, even though

“the Court would not otherwise have chosen to have Ms. Park serve only half of her sentence”).

If this Court is displeased with that choice, the BOP bears responsibility because it has failed to

meaningfully respond to the pandemic.

       While Mr. Rovinski’s “‘original release date may be far off, the threat of COVID-19 is at

his doorstep.’” Salvagno, 2020 U.S. Dist. LEXIS 95844 at *18 (quoting United States v.

Zukerman, No. 16-cr-194, 2020 U.S. Dist. LEXIS 59588 at *11 (S.D.N.Y. Apr. 3, 2020))

(brackets omitted). Give the terrible risk of COVID-19, “continued detention…[is not] an

appropriate or proportionate way to further the purposes of sentencing.” United States v. Asaro,

No. 17-cr-127-ARR, 2020 U.S. Dist. LEXIS 68044 at *21 (E.D.N.Y. Apr. 17, 2020).

       D. Mr. Rovinski should be released forthwith to self-quarantine at home and
          should not be required to endure further isolation within BOP.

       The BOP has adopted an across-the-board practice of forcing prisoners approved for

release to quarantine at the facility for 14-days before they can actually be released, even though

this is not required. See Barr, April 3 Memorandum, above note 9 (permitting quarantine at the

facility or at home). This “quarantine” is often served in solitary confinement-like isolation.

Forcing people into solitary confinement-like confinement for two weeks is cruel, unnecessary,


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and counterproductive. See United States v. Scparta, No. 18-cr-578-AJN, 2020 U.S. Dist. LEXIS

68935 at *9 (S.D.N.Y. Apr. 19, 2020) (“this is an illogical and self-defeating policy that appears

to be inconsistent with the directive of the Attorney General, ungrounded in science, and a

danger to both Mr. Scparta and the public health of the community”); Martinez-Brooks, 2020

U.S. Dist. LEXIS 83300 at *105 (D. Conn. May 12, 2020) (ordering modification of that

requirement); Declaration of Professor Seth Prins, Grinis v. Spaulding, No. 20-10738 (D. Mass.

Apr. 27, 2020), D.E. 38-4 (describing the quarantine policy as inhumane and “ineffective as a

health measure”).

       Because Mr. Rovinski can safely can self-isolate at home, the Court should order the 14-

day quarantine at home. See Scparta, 2020 U.S. Dist. LEXIS 68935 at *31 (“the Court will

require [defendant] to instead self-isolate for 14 days in his home”); Robinson, 2020 U.S. Dist.

LEXIS 73575 at *10 (“Upon his release and during his term of home confinement, [defendant]

will satisfy the 14-day self-quarantine requirement”); Sawicz, 2020 U.S. Dist. LEXIS 64418 at

*10 (the defendant “shall be released immediately upon the institution’s receipt of this Order,

and shall instead [of quarantining at the facility] spend 14 days in quarantine at the place he shall

reside”); Asaro, 2020 U.S. Dist. LEXIS 68044 at *24 (“Defendant . . . shall not spend 14 days in

quarantine at MCFP Springfield prior to his release”).




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                                         CONCLUSION

       For the foregoing reasons, Mr. Rovinski respectfully requests that the Court grant a

reduction in his sentence to time served with a lifetime term of supervised release, subject to

whatever conditions the Court may deem necessary.

                                              Respectfully submitted,

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                                      Certificate of Service

        I hereby certify that this document, filed through the ECF system, will be sent
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                                                      /s/ William Fick
                                                      William Fick




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